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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                                           Chapter 11

    FTX TRADING LTD., et al., 1                                     Case No. 22-11068 (JTD)

             Debtors.                                                (Jointly Administered)


         AMENDED 2 NOTICE OF AGENDA FOR HEARING SCHEDULED FOR
       OCTOBER 7, 2024 AT 10:00 A.M. (ET), BEFORE THE HONORABLE JOHN T.
     DORSEY AT THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT
      OF DELAWARE, LOCATED AT 824 NORTH MARKET STREET, 5TH FLOOR,
              COURTROOM NO. 5, WILMINGTON, DELAWARE 19801

         ALL PARTICIPANTS, INCLUDING ATTORNEYS INTENDING
   TO PRESENT AT THE HEARING AND WITNESSES, MUST BE PHYSICALLY
   PRESENT IN THE COURTROOM. ANY NON-PARTICIPANT MAY OBSERVE
THE HEARING REMOTELY BY REGISTERING IN ADVANCE AT THE LINK BELOW
            NO LATER THAN OCTOBER 4, 2024 AT 4:00 P.M. (ET).

    To attend this hearing remotely, please register using the eCourt Appearances tool on the
                            Court’s website at www.deb.uscourts.gov.

RESOLVED MATTERS:

1.           Motion of LayerZero Labs Ltd., Ari Litan, and Skip & Goose LLC to Extend Voting and
             Preference Election Deadline Set Forth in Confirmation Scheduling Order [D.I. 23161,
             filed on August 16, 2024]

             Status: On September 4, 2024, the Court entered an order granting the relief requested.
             Accordingly, a hearing regarding this matter is not required.

2.           Debtors’ Motion for Leave to Exceed Page Limit with respect to (A) Debtors’
             Memorandum of Law in Support of an Order Confirming the Second Amended Joint
             Chapter 11 Plan of Reorganization FTX Trading Ltd. and Its Debtor Affiliates and (B)



1      The last four digits of FTX Trading Ltd.’s FTX Trading Ltd.’s and Alameda Research LLC’s tax identification
       number are 3288 and 4063 respectively. Due to the large number of debtor entities in these Chapter 11 cases, a
       complete list of the Debtors and the last four digits of their federal tax identification numbers is not provided
       herein. A complete list of such information may be obtained on the website of the Debtors’ claims and noticing
       agent at https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity
       Technologies Ltd is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.

2      Amended items appear in bold.



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         Debtors’ Omnibus Reply to Plan Confirmation Objections [D.I. 26040, filed on September
         30, 2024]

         Status: On October 1, 2024, the Court entered an order granting the relief requested.
         Accordingly, a hearing regarding this matter is not required.

MATTERS GOING FORWARD:

    3. Second Amended Joint Chapter 11 Plan of Reorganization of FTX Trading Ltd. and Its
       Debtor Affiliates [D.I. 26029, filed on September 30, 2024]

         Response Deadline: August 16, 2024 at 4:00 p.m. (ET); Extended for the U.S. Trustee to
         Aug. 23, 2024 at 4:00 p.m. (ET); the U.S. Dept. of Justice and the U.S. Securities &
         Exchange Commission to Aug. 30, 2024 at 4:00 p.m. (ET); and the New Jersey Bureau of
         Securities, Texas State Securities Board, Texas Dept. of Banking, State of Texas through
         the Consumer Protection Division of the Texas Attorney General, and the Wisconsin Dept.
         of Financial Information to Sept. 11, 2024 at 4:00 p.m. (ET)

         Confirmation Responses Received: See Exhibit A attached hereto.

         Related Documents:

         A.       Notice of Proposed Settlement of Customer Property Disputes [D.I. 3291, filed on
                  October 16, 2023]

         B.       Joint Chapter 11 Plan of Reorganization of FTX Trading Ltd. and Its Debtor
                  Affiliates [D.I. 4861, filed on December 16, 2023]

         C.       Disclosure Statement for Debtors’ Joint Chapter 11 Plan of Reorganization of FTX
                  Trading Ltd. and Its Affiliated Debtors and Debtors-in-Possession [D.I. 4862, filed
                  on December 16, 2023]

         D.       Order Granting Motion of Debtors to Estimate Claims Based on Digital Assets [D.I.
                  7090, entered on February 7, 2024]

         E.       Notice of Filing of Official Committee Letter [D.I. 18656, filed on June 24, 2024]

         F.       Order (I) Approving the Adequacy of the Disclosure Statement; (II) Approving
                  Solicitation Packages; (III) Approving the Forms of Ballots; (IV) Establishing
                  Voting, Solicitation and Tabulation Procedures; and (V) Establishing Notice and
                  Objection Procedures for the Confirmation of the Plan [D.I. 19068, entered on June
                  26, 2024]

         G.       (SOLICITATION VERSION) Joint Chapter 11 Plan of Reorganization of FTX
                  Trading Ltd. and Its Debtor Affiliates [D.I. 19139, filed on June 27, 2024]




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         H.       (SOLICITATION VERSION) Disclosure Statement for Debtors’ Joint Chapter 11
                  Plan of Reorganization of FTX Trading Ltd. and Its Affiliated Debtors and Debtors-
                  in-Possession [D.I. 19143, filed on June 27, 2024]

         I.       Notice of Filing of Blackline of the Disclosure Statement [D.I. 19147, filed on June
                  27, 2024]

         J.       Memorandum Opinion and Order Regarding Estimation of Digital Asset Claims
                  [D.I. 19069, entered on June 26, 2024]

         K.       Notice of Hearing to Consider Confirmation of Debtors’ Joint Chapter 11 Plan of
                  Reorganization [D.I. 19150, filed on June 27, 2024]

         L.       (REDACTED) Notice of Filing of Plan Supplement [D.I. 22163, filed on August
                  2, 2024]

         M.       (SEALED) Notice of Filing of Plan Supplement [D.I. 22164, filed on August 2,
                  2024]

         N.       First Amended Joint Chapter 11 Plan of Reorganization of FTX Trading Ltd. and
                  Its Debtor Affiliates [D.I. 22165, filed on August 2, 2024]

         O.       Notice of Filing of Blackline of First Amended Plan [D.I. 22166, filed on August
                  2, 2024]

         P.       Certificate of Publication of James Daloia Regarding Notice of Deadline to Vote
                  on, Deadline to Object to Confirmation of, and Hearing to Consider Confirmation
                  of Debtors’ Joint Chapter 11 Plan of Reorganization [D.I. 23987, filed on August
                  28, 2024]

         Q.       Notice of (I) Executory Contracts and Unexpired Leases Proposed to be Assumed
                  by the Debtors Pursuant to the Joint Chapter 11 Plan of Reorganization of FTX
                  Trading Ltd. and Its Debtor Affiliates, (II) Cure Amounts, If Any, and (III) Related
                  Procedures in Connection Therewith [D.I. 24029, filed on August 30, 2024]

         R.       Affidavit/Declaration of Mailing of Ali Hamza Regarding Notice of (I) Executory
                  Contracts and Unexpired Leases Proposed to Be Assumed by the Debtors Pursuant
                  to the Joint Chapter 11 Plan of Reorganization of FTX Trading Ltd. and Its Debtor
                  Affiliates, (II) Cure Amounts, If Any, and (III) Related Procedures in Connection
                  Therewith [D.I. 24485, filed on September 10, 2024]

         S.       Notice of Filing of First Amended Plan Supplement [D.I. 25649, filed on September
                  23, 2024]

         T.       Notice of (I) Executory Contracts and Unexpired Leases Proposed to be Assumed
                  by the Debtors Pursuant to the First Amended Joint Chapter 11 Plan of
                  Reorganization of FTX Trading Ltd. and its Debtor Affiliates, (II) Cure Amounts,

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                  if any, and (III) Related Procedures in Connection Therewith [D.I. 25650, filed on
                  September 23, 2024]

         U.       Notice of Filing of Blackline of Second Amended Plan [D.I. 26030, filed on
                  September 30, 2024]

         V.       Notice of Filing of Proposed Confirmation Order [D.I. 26034, filed on September
                  30, 2024]

         W.       Debtors’ Memorandum of Law in Support of Confirmation of the Second Amended
                  Joint Chapter 11 Plan of Reorganization of FTX Trading Ltd. and Its Debtor
                  Affiliates [D.I. 26035, filed on September 30, 2024]

         X.       Debtors’ Omnibus Reply to Objections to Confirmation of the Second Amended
                  Joint Plan of Reorganization of FTX Trading Ltd. and Its Debtor Affiliates [D.I.
                  26039, filed on September 30, 2024]

         Y.       Declaration of Steven P. Coverick in Support of Confirmation of the Second
                  Amended Joint Chapter 11 Plan of Reorganization of FTX Trading Ltd. and Its
                  Debtor Affiliates [D.I. 26041, filed on September 30, 2024]

         Z.       Declaration of Rt. Hon. Lord Neuberger of Abbotsbury [D.I. 26042, filed on
                  September 30, 2024]

         AA.      Official Committee of Unsecured Creditors’ Statement in Support of Confirmation
                  of Second Amended Joint Chapter 11 Plan of Reorganization of FTX Trading Ltd.
                  and Its Debtor Affiliates [D.I. 26043, filed on September 30, 2024]

         BB.      Declaration of Edgar W. Mosley II in Support of Confirmation of the Second
                  Amended Joint Chapter 11 Plan of Reorganization of FTX Trading Ltd. and Its
                  Debtor Affiliates [D.I. 26044, filed on September 30, 2024]

         CC.      Declaration of James Daloia of Kroll Restructuring Administration LLC Regarding
                  the Solicitation of Votes and Tabulation of Ballots Cast on the Joint Chapter 11
                  Plan of Reorganization of FTX Trading Ltd. and Its Debtor Affiliates [D.I. 26045,
                  filed on September 30, 2024]

         DD.      Statement of the Joint Official Liquidators of FTX Digital Markets Ltd. in Support
                  of Confirmation of the Second Amended Joint Chapter 11 Plan of Reorganization
                  of FTX Trading Ltd. and Its Debtor Affiliates [D.I. 26052, filed on September 30,
                  2024]

         EE.      The Ad Hoc Committee of Non-US Customers of FTX.com’s Statement in Support
                  of Confirmation of the Debtors’ First Amended Joint Chapter 11 Plan of
                  Reorganization [D.I. 26059, filed on September 30, 2024]




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         FF.      Notice of Debtors’ Exhibit List and Intent to Offer Witness Testimony at the
                  Hearing on October 7, 2024 Regarding Confirmation of the Second Amended Joint
                  Chapter 11 Plan of Reorganization of FTX Trading Ltd. and Its Debtor Affiliates
                  [D.I. 26061, filed on October 1, 2024]

         GG.      Order Granting Motion for Entry of an Order for Leave to Exceed Page Limit with
                  Respect to (A) Debtors’ Memorandum of Law in Support of an Order Confirming
                  the Second Amended Joint Chapter 11 Plan of Reorganization FTX Trading Ltd.
                  and Its Debtor Affiliates and (B) Debtors’ Omnibus Reply to Plan Confirmation
                  Objections [D.I. 26129, entered on October 1, 2024]

         HH.      Statement of MDL No. 3076 Putative Class Representatives and Co-Lead Counsel
                  in Conditional Support of Confirmation of the Second Amended Joint Chapter 11
                  Plan of Reorganization of FTX Trading Ltd. and Its Debtor Affiliates [D.I. 26189,
                  filed on October 2, 2024]

         II.      Notice of Filing of Second Amended Plan Supplement [D.I. 26226, filed on
                  October 3, 2024]

         JJ.      Statement of the Adversary Class Action Plaintiffs Joining in the Debtors’
                  Submission in Support of Confirmation of the Second Amended Joint Chapter
                  11 Plan of Reorganization [D.I. 26261, filed on October 3, 2024]

         KK.      Notice of ELD Capital LLC Exhibit List for Confirmation Hearing [D.I.
                  26278, filed on October 4, 2024]

         LL.      Notice of Filing of Revised Proposed Confirmation Order [D.I. 26309, filed on
                  October 6, 2024]

         Status: This matter is going forward.

4.       The Celsius Litigation Administrator’s Motion for Relief from the Automatic Stay
         [D.I. 16815, filed on June 5, 2024]

         Response Deadline: June 18, 2024 at 4:00 p.m. (ET); extended to July 8, 2024 at 4:00 p.m.
         (ET) for the Debtors and FTX Digital Markets

         Responses Received:

         A.       Debtors’ Objection to the Celsius Litigation Administrator’s Motion for Relief
                  from the Automatic Stay [D.I. 19792, filed on July 8, 2024]

         B.       The Official Committee of Unsecured Creditors’ Joinder to the Debtors’ Objection
                  to the Celsius Litigation Administrator’s Motion for Relief from the Automatic
                  Stay [D.I. 20291, filed on July 12, 2024]




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         Related Documents:

         A.       [SEALED] Declaration of Kenneth Ehrler in Support of the Celsius Litigation
                  Administrator’s Motion for Relief from the Automatic Stay [D.I. 16819, filed on
                  June 5, 2024]

         B.       [REDACTED] Declaration of Kenneth Ehrler in Support of the Celsius Litigation
                  Administrator’s Motion for Relief from the Automatic Stay [D.I. 17181, filed on
                  June 10, 2024]

         C.       Order Approving Tolling Agreement [D.I. 19105, entered on June 27, 2024]

         D.       Amended Notice of Motion of the Celsius Litigation Administrator’s Motion for
                  Relief from the Automatic Stay [D.I. 19154, filed on June 28, 2024]

         E.       Debtors’ Objection to Proofs of Claim Filed by Celsius Network LLC and Its
                  Affiliated Debtors [D.I. 19795, filed on July 8, 2024]

         F.       Amended Notice of Motion of the Celsius Litigation Administrator’s Motion for
                  Relief from the Automatic Stay [D.I. 20340, filed on July 12, 2024]

         G.       The Celsius Litigation Administrator’s Reply in Further Support of the Motion for
                  Relief from the Automatic Stay [D.I. 24212, filed on September 4, 2024]

         H.       [SEALED] Notice Regarding Exhibits to Declaration of Kenneth Ehrler in Support
                  of the Celsius Litigation Administrator’s Motion for Relief from the Automatic
                  Stay [D.I. 24318, filed on September 6, 2024]

         I.       [REDACTED] Notice Regarding Exhibits to Declaration of Kenneth Ehrler in
                  Support of the Celsius Litigation Administrator’s Motion for Relief from the
                  Automatic Stay [D.I. 24319, filed on September 6, 2024]

         J.       Joint Witness and Exhibit Lists of the Celsius Litigation Administrator and the
                  Debtors [D.I. 24587, filed on September 12, 2024]

         K.       Order Granting Celsius Litigation Administrator’s Motion for Entry of an Order for
                  Authority to File Under Seal the Transfer Schedules Containing Confidential
                  Information [D.I. 24659, entered on September 13, 2024]

         L.       Joint Witness and Exhibit Lists of the Celsius Litigation Administrator and
                  the Debtors [D.I. 26292, filed on October 4, 2024]

         Status: This matter is going forward.




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 Dated: October 6, 2024                   LANDIS RATH & COBB LLP
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